                                              United States Bankruptcy Court
                                             Western District of Washington
In re:                                                                                                     Case No. 20-40746-MJH
John Daniel Mickelsen                                                                                      Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0981-3                  User: admin                        Page 1 of 1                          Date Rcvd: Sep 09, 2020
                                      Form ID: pdfltd                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 11, 2020.
db             +John Daniel Mickelsen,   310 W. Magnolia St.,   Centralia, WA 98531-4350

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 11, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 9, 2020 at the address(es) listed below:
              Kathryn A Ellis   kae@seanet.com, WA18@ecfcbis.com;cgw@seanet.com
              Susan H. Seelye   on behalf of Debtor John Daniel Mickelsen stopdebt@gmail.com,
               ignbands@gmail.com;browner80299@notify.bestcase.com
              United States Trustee   USTPRegion18.SE.ECF@usdoj.gov
                                                                                            TOTAL: 3




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                                            OFFICE OF THE CLERK
                                     UNITED STATES BANKRUPTCY COURT
                                          Western District of Washington
                                       Web address: www.wawb.uscourts.gov
SEATTLE OFFICE                                 Mark L. Hatcher            TACOMA OFFICE
700 Stewart St. #6301                                 Clerk               Union Station
Seattle, WA 98101-1271                                                    1717 Pacific Avenue, Suite 2100
(206) 370-5200                                                             Tacoma, WA 98402-3233
                                                                           (253) 882-3900

  DATE: 
  TO: -RKQ'DQLHO0LFNHOVHQ
  RE:      -RKQ'DQLHO0LFNHOVHQ                                  NO: 
  I.       Your request can not be processed due to the following:
                  Your complaint has been received, however it is not DEEMED filed until the filing fee is paid.

                  No check or money order was enclosed. See attached fee schedule.
                  The fee submitted is insufficient for the information requested.
                  The additional amount owing is $                    .

  II.             No case number was provided.
                  Listing for the debtor and/or case number does not exist.
                  This is the incorrect court for your request.
                  The file has been sent to the Federal Records Center. See attached sheet for more information.

                  The Bankruptcy Court does not provide copies of the forms you requested.
  III.    The case is statistically ) pending, (;;) closed  ( ) discharged on            , ( ) other:
                                 .
  ,9      _ The proof of claim form was not signed. Return the enclosed copy with your original signature.
  9       Other Proof                              .
  9,      Fee Due $ , ( ) Amendment, ( ) Motion, ( ) Reopen, ( ) Archive Retrieval, ( ) Conversion Fee,

            ( ) Other              .
  PLEASE TAKE THE REQUIRED ACTION OR SUPPLY US WITH THE INFORMATION NEEDED
  TO HELP US PROCESS YOUR REQUEST.
                                     Deborah Scearce
                                     Deputy Clerk



WAW-265.CS Rev August 3, 2006




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